
PALMER, C.J.
J.R., a juvenile, timely appeals the trial court’s order adjudicating him guilty of committing the crime of criminal mischief and sentencing him to a term of 60 days in a high-risk facility. The order was rendered after J.R. entered an uncounseled plea. J.R. contends that he should be permitted to withdraw his plea because the trial court failed to conduct an adequate inquiry regarding his waiver of counsel. He further contends that the error was fundamental and, therefore, this court has the authority to reverse, citing State v. T.G., 800 So.2d 204 (Fla.2001). The State commendably concedes error and agrees that this case should be remanded so that J.R. can withdraw his plea.
REVERSED and REMANDED.
GRIFFIN and COHEN, JJ., concur.
